      Case 3:23-cv-00231-ART-CLB Document 3 Filed 06/20/23 Page 1 of 2


 1                                UNITED STATES DISTRICT COURT

  2                                     DISTRICT OF NEVADA
 2
  3
 3    JAMES EDWARD SCOTT, III,                              Case No.: 3:23-cv-00231-ART-CLB
  4
 4                   Plaintiff,
  5                                                                        ORDER
 5            v.
  6                                                                      (ECF No. 1)
 6    MELISSA MICHELL, et al.,
  7
 7                   Defendants.
  8
 8
  9          On June 1, 2023, pro se plaintiff James Edward Scott, III, an inmate in the custody
 9
 10   of the Nevada Department of Corrections, submitted a complaint under 42 U.S.C. § 1983.
10
 11   Plaintiff, however, has not paid the full $402 filing fee for a civil action or applied to
11
 12   proceed in forma pauperis.
12
 13          The United States District Court for the District of Nevada must collect filing fees
13
 14   from parties initiating civil actions. 28 U.S.C. § 1914(a). The fee for filing a civil-rights
14
 15   action is $402, which includes the $350 filing fee and the $52 administrative fee. See 28
15
 16   U.S.C. § 1914(b). “Any person who is unable to prepay the fees in a civil case may apply
16
 17   to the court for leave to proceed in forma pauperis.” Nev. Loc. R. Prac. LSR 1-1. For an
17
 18   inmate to apply for in forma pauperis status, the inmate must submit all three of the
18
 19   following documents to the Court: (1) a completed Application to Proceed in Forma
19
 20   Pauperis for Inmate, which is pages 1–3 of the Court’s approved form, that is properly
20
 21   signed by the inmate twice on page 3; (2) a completed Financial Certificate, which is
21
 22   page 4 of the Court’s approved form, that is properly signed by both the inmate and a
22
 23   prison or jail official; and (3) a copy of the inmate’s prison or jail trust fund account
23
 24   statement for the previous six-month period. See 28 U.S.C. § 1915(a)(1)–(2); Nev.
24
 25   Loc. R. Prac. LSR 1-2. In forma pauperis status does not relieve an inmate of his or her
25
 26   obligation to pay the filing fee, it just means that the inmate can pay the fee in installments.
26
 27   See 28 U.S.C. § 1915(b).
27
 28
28
      Case 3:23-cv-00231-ART-CLB Document 3 Filed 06/20/23 Page 2 of 2


 1           It is therefore ordered that Plaintiff has until August 21, 2023 to either pay the full

  2   $402 filing fee or file a fully complete application to proceed in forma pauperis with all
 2
  3   three required documents: (1) a completed application with the inmate’s two signatures
 3
  4   on page 3, (2) a completed financial certificate that is signed both by the inmate and the
 4
  5   prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the
 5
  6   previous six-month period.
 6
  7          Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
 7
  8   he fails to timely comply with this order. A dismissal without prejudice allows Plaintiff to
 8
  9   refile the case with the Court, under a new case number, when Plaintiff can file a complete
 9
 10   application to proceed in forma pauperis or pay the required filing fee.
10
 11          The Clerk of the Court is directed to send Plaintiff James Edward Scott, III, the
11
 12   approved form application to proceed in forma pauperis for an inmate and instructions for
12
 13   the same, and to retain the complaint (ECF No. 1) but not file it at this time.
13
 14
14           DATED THIS 20th day of June 2023.
 15
15
 16
16
 17
17                                                UNITED STATES MAGISTRATE JUDGE
 18
18
 19
19
 20
20
 21
21
 22
22
 23
23
 24
24
 25
25
 26
26
 27
27
 28
28
                                                     2
